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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
AERIAL WEST, LLC,                                                      CASE NUMBER:


                                                     PLAINTIFF(S)
                                                                                   LA CV18-02288 JAK (SSx)
                                 v.
                                                                                 ORDER TO STRIKE
 DRONE WORLD, LLC, et al.,                                                ELECTRONICALLY FILED DOCUMENTS
                                                   DEFENDANT(S).


The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply with the Local
Rules, General Order 10-07 and/or the Court’s Case Management Order as indicated:

                   06/06/2018                  /       24         /                            Exhibit
                 Date Filed                        Doc. No.                             Title of Document
                                               /                  /
                 Date Filed                 Doc. No.                        Title of Document
     G    Document submitted in the wrong case
     G    Incorrect document is attached to the docket entry
     G    Document linked incorrectly to the wrong document/docket entry
     G    Incorrect event selected. Correct event is
     G    Case number is incorrect or missing.
     G    Hearing information is missing, incorrect, or not timely
     G    Local Rule 7.1-1 No Certification of Interested Parties and/or no copies
     G    Case is closed
     G    Proposed Document was not submitted as separate attachment
     ✔
     G    Title page is missing
     G    Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
     G    Local Rule 56-2 Statement of genuine disputes of material fact lacking
     G    Local Rule 7-19.1 Notice to other parties of ex parte application lacking
     G    Local Rule 11-6 Memorandum/brief exceeds 25 pages
     G    Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
     ✔
     G    Other : Defendants shall refile the Exhibit with a title/caption page pursuant to L.R. 11-3.8 no later than
                 June 11, 2018


   Note: Please refer to the court’s Internet website at www.cacd.uscourts.gov for Local Rules, General Order 10-07 and applicable forms.



Dated: June 8, 2018                                                    By:
                                                                             U.S. District Judge / U.S. Magistrate Judge
cc: Assigned District and/or Magistrate Judge


G-106 (12/10)                           ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT
